Case 2:05-cr-20026-SH|\/| Document 31 Filed 09/01/05 Page 1 of 2 Page|D 38

 

D. .
IN TH:E: UNITED sTATEs DISTRICT COURT F"-ED BY ~- c
FoR THE: wEsTERN DISTRICT oF TENNESSEE
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UNITED sTATES oF AMERICA, CLE;{:<% l,(_l"»l "`*CTE%UHT

Plaintiff,
vs. CR. NO. 05-20026-01~Ma

MARCELO HERNANDEZ-VANEGAS,

~_/~_/VV\_/~_/V\_/`_/

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on September 1, 2005, the
United States Attorney for this district appearing for the
Government and the defendant, Marcelo Hernandez-Vanegas, appearing
in person and with appointed counsel, Mr. J. Patten Brown, III.

With leave of the Court, the defendant entered a plea of
guilty to Count l of the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Thursday, December 8,
2005 at 9:00 a.m~

The defendant is remanded to the custody of the United States

ls'l-

Marshal.

ENTERED this the day of September, 2005.

M/h/w_,_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:05-CR-20026 Was distributed by faX, mail, or direct printing on
September 9, 2005 to the parties listed.

 

 

J. Patten Brown

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Honorable Samuel Mays
US DISTRICT COURT

